

People v Verin (2025 NY Slip Op 02494)





People v Verin


2025 NY Slip Op 02494


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., MONTOUR, OGDEN, GREENWOOD, AND KEANE, JJ.


299 KA 20-01479

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vVLADIMIR . VERIN, DEFENDANT-APPELLANT. 






TINA L. HARTWELL, PUBLIC DEFENDER, UTICA (DAVID A. COOKE OF COUNSEL), FOR DEFENDANT-APPELLANT. 
TODD C. CARVILLE, DISTRICT ATTORNEY, UTICA (DAWN CATERA LUPI OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Oneida County Court (Barry M. Donalty, J.), rendered June 18, 2010. The judgment convicted defendant, upon his plea of guilty, of criminal contempt in the first degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Memorandum: Defendant appeals from a judgment convicting him, upon his plea of guilty, of criminal contempt in the first degree (Penal Law § 215.51 [b] [vi]). On appeal, defendant contends that he received ineffective assistance of counsel during the plea process inasmuch as defense counsel allegedly failed to advise him of the deportation consequences of his plea. Although defendant purportedly waived his right to appeal in this matter, that contention survives both defendant's guilty plea and a valid waiver of the right to appeal (see generally People v Seymore, 188 AD3d 1767, 1769 [4th Dept 2020], lv denied 36 NY3d 1100 [2021]; People v Molski, 179 AD3d 1540, 1540-1541 [4th Dept 2020], lv denied 35 NY3d 972 [2020]). Nevertheless, defendant's contention "is predicated on factors such as [defense] counsel's strategy, advice, or preparation that do not appear on the face of the record, [and thus] defendant must raise his [contention] via a CPL 440.10 motion" (People v Peque, 22 NY3d 168, 202 [2013]; see generally People v Goodwin, 159 AD3d 1433, 1435 [4th Dept 2018]).
Entered: April 25, 2025
Ann Dillon Flynn
Clerk of the Court








